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                                   Susman Godfrey l.l.p.
                                           a registered limited liability partnership




                                                 November 19, 2024
VIA ECF
Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007
           RE:      Authors Guild v. OpenAI Inc., 23-cv-8292 (S.D.N.Y.) and Alter v. OpenAI Inc.,
                    23-cv-10211 (S.D.N.Y.): Microsoft’s LLMs and Licensing
Dear Judge Wang:

         Pursuant to Rule II(b) of Your Honor’s Individual Practices, Plaintiffs seek a conference
regarding Microsoft’s refusal to produce two categories of information on the ground of relevance:
(1) documents relating to Microsoft’s efforts to license LLM training data where a license did not
result (RFP Nos. 46 and 47) (Ex. 1) and (2) documents showing the datasets that Microsoft used
to train its LLMs (RFP No. 41) (id.).1 Both categories are relevant and discoverable. Negotiations
and draft licensing deals for LLM training data—consummated or not—are relevant to the
existence of a potential or actual licensing market for training data under the fourth fair use factor.
Information about how Microsoft trained its LLMs is relevant to both Plaintiffs’ direct and
contributory infringement claims against Microsoft.

        Background. RFP Nos. 46-47 seek Microsoft’s negotiations to license copyrighted works
(Ex. 1). To date, both party and non-party discovery confirms that Microsoft sought to license
training data from                  (Exs. 2, 3). While Microsoft agreed to produce some licensing
material, it has – unlike OpenAI – categorically refused to produce documents relating to (1)
unexecuted licenses; or (2) licensing training data for its own LLMs (see Ex. 4).

        RFP No. 41 seeks documents sufficient to identify the datasets that Microsoft used to train
LLMs. In its response to this RFP and several others, Microsoft objected to producing documents
related to its own LLMs (Ex. 5). Microsoft reiterated these objections during the parties’
conferrals. On November 15, 2024, Microsoft confirmed that it would not change its position as
to the requests (see Ex. 4) (“The allegations in the amended complaint . . . do not extend to LLMs
other than OpenAI’s LLMs”).

        Plaintiffs are suing on behalf of a class of people who own “Class Works”: works that
“ha[ve] been, or [are] being, used by Defendants to ‘train’ one or more of [their] large language
models.” Compl. ¶¶ 394, 397. On behalf of that class, Plaintiffs assert direct and contributory
infringement claims against Microsoft. Paragraph 415 of the direct infringement claim alleges that

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    The parties have conferred and were not able to reach agreement.
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highly relevant to whether its infringement was willful.

       B. Microsoft’s own LLMs (RFP No. 41). Microsoft’s contention that it does not have to
produce discovery about the data it used to train its own LLMs is wrong for two reasons. First,
those models are a predicate for Plaintiffs’ direct infringement claim against Microsoft. If those
models infringed Plaintiffs’ copyrights, Microsoft is liable to Plaintiffs. Second, the data Microsoft
chose for training its models is relevant to its knowledge of OpenAI’s infringing conduct and its
own willfulness.

        Microsoft’s models are part of Plaintiffs’ claims. As described, Microsoft’s LLMs are
within the scope of Plaintiffs’ claims. Plaintiffs allege a direct infringement claim against
Microsoft, and, in several places, expressly allege that “Defendants”—including Microsoft—
committed copyright infringement by using authors’ works to train “Defendants’ models.” See
Compl. ¶¶ 9-10, 406, 415. Indeed, Plaintiffs define their class as those whose works were
improperly used to train any of “Defendants’ large language models.” Id. ¶¶ 393-397. That
Microsoft ignores allegations about its own LLMs—and the class definition—is no basis to limit
the scope of discovery. See, e.g., XChange Telecom Corp. v. Sprint Spectrum L.P., 2015 WL
773752, at *3 (N.D.N.Y. Feb. 24, 2015) (“No party possess[es] the unilateral ability to dictate the
scope of discovery based on their own view of the parties’ respective theories of the case.”)
(internal quotation marks omitted). Plaintiffs have pleaded that Microsoft’s LLMs infringe
Plaintiffs’ copyrights, and Plaintiffs are entitled to find out what data Microsoft’s LLMs are trained
on.

        Microsoft’s own model training is relevant to its knowledge and willfulness. Parties “may
obtain discovery regarding any nonprivileged matter that is relevant to any party’s claim or defense
and proportional to the needs of the case.” Fed. R. Civ. Proc. 26(b)(1). Relevancy “is an extremely
broad concept,” and there is a “relatively low threshold for a party to show that the material sought
is relevant to any claim or defense in the litigation.” Delta Air Lines, Inc. v. Lightstone Grp., LLC,
No. 21-MC-374 (RA) (OTW), 2021 WL 2117247, at *2 (S.D.N.Y. May 24, 2021). Material
relating to Microsoft’s LLMs bears directly on the issues of knowledge and willfulness.
Knowledge of OpenAI’s infringement is an element of Plaintiffs’ contributory infringement claim
against Microsoft. See, e.g., White v. DistroKid, 2024 WL 3195471, at *10 (S.D.N.Y. June 24,
2024). Willfulness, meanwhile, is relevant to damages: the statutory damages cap for willful
infringement is far higher than that for non-willful infringement.

        Evidence that Microsoft refrained (or did not refrain) from training its own LLMs on
copyrighted material is probative of whether Microsoft knew—or was turning a “blind eye” to the
fact, Arista Records LLC v. Usenet.com, Inc., 633 F. Supp. 2d 124, 154 (S.D.N.Y. 2009), that
OpenAI’s unauthorized use of copyrighted material to train LLMs infringed. That awareness is an
element of Plaintiffs’ claim for contributory infringement. DistroKid, 2024 WL 3195471, at *10
(contributory infringement requires showing “that a party with “knowledge of the infringing
activity[ ] induce[d], cause[d], or materially contribut[ed] to the infringing conduct of another.”)
(internal quotation omitted). It also goes to Microsoft’s willfulness. Bryant v. Media Rights Prods.,
Inc., 603 F.3d 135, 143 (2d Cir. 2010) (willfulness may involve “knowledge that its conduct
represented infringement or recklessly disregarded the possibility”); Broad. Music, 158 F. Supp.
3d at 197 (willfulness “is often found where a defendant continued the infringing behavior”
knowing that a license was required).
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                                   Sincerely,

LIEFF CABRASER HEIMANN    SUSMAN GODFREY LLP        COWAN, DEBAETS,
& BERNSTEINS LLP                                    ABRAHAMS & SHEPPARD
                                                    LLP

/s/ Rachel Geman          /s/ Rohit Nath            /s/ Scott J. Sholder
Rachel Geman              Rohit Nath                Scott J. Sholder
